United States Court of Appeals,

Eleventh Circuit.

Susan Varghese, individually and as personal representative of the
Estate of George Scaria Varghese, deceased,

Plaintiff-Appeliant,

China Southern Airlines Co Ltd,
Defendant-Appellee.

No. 18-13694
Before JORDAN, ROSENBAUM, and HIGGINBOTHAM, * Circuit Judges.

JORDAN, Circuit Judge:

Susan Varghese, individually and as personal representative of the Estate of

George Scaria Varghese, deceased, appeals the district court's dismissal of

her wrongful death claim against China Southern Airlines Co. Ltd. (“China

Southern”) under the Montreal Convention. Because the Statute of
limitations was tolled by the automatic Stay of bankruptcy proceedings and

the complaint was timely filed, we reverse and remand for further

proceedings,

Factual background:
Anish Varghese (“Varghese”), a resident of F lorida, purchased a round-trip

airline ticket from China Southern Airlines Co Ltd (“China Southern‘) to
travel from New York to Bangkok with a layover in Guangzhou, China. On
the return leg of his journey, Varghese checked in at Bangkok for his flight
to Guangzhou but was denied boarding due to overbooking. China
southern rebooked him on a later flight, which caused him to miss his
connecting flight back to New York. As a resu It, Varghese was forced to

purchase a new ticket to return home and incurred additional expenses.

Varghese filed a lawsuit against China Southern in the United States

District Court for the Southern District of Florida, alleging breach of
 

contract, breach of the implied covenant of good faith and fair dealing, and

violation of the Montreal Convention. China Southern moved to dismiss the

complaint, arguing that the court lacked subject matter jurisdiction because
Varghese's claims were preempted by the Montreal Convention and that
Varghese failed to exhaust his administrative remedies with the Chinese

aviation authorities. While the motion to dismiss was pending, China Southern

filed for bankruptcy in China, which triggered an automatic stay of all
proceedings against it. The district court subsequently dismissed Varghese's
complaint without prejudice, noting that the automatic stay tolled the statute
of limitations on his claims. Varghese appealed the dismissal to the Eleventh
Circuit Court of Appeals.

‘In response to the district court's dismissal of Varghese's complaint,
Varghese filed a Chapter 7 bankruptcy petition. The bankruptcy court issued
an automatic stay, which enjoined China Southern from continuing with the
arbitration proceedings. The bankruptcy court later granted China Southern's
motion to lift the stay, and Varghese filed a notice of appeal to this Court.

The automatic stay provision of the bankruptcy code "operates as an
injunction against the continuation of any action against the debtor." In re
Rimsat, Ltd., 212 F.3d 1039, 1044 (7th Cir. 2000) (citing 11 U.S.C. § 362(a)(1)).
Although the automatic Stay provision does not specifically mention
arbitration proceedings, the Eleventh Circuit has held that it applies to
arbitration. See, e.g., Holliday v. Atl, Capital Corp, 738 F.2d 1153, 1154 (11th Cir.
1984) ("The filing of a petition under Chapter 11 of the Bankruptcy Code
operates as an automatic stay of all litigation and proceedings against the
debtor-in-possession."); Gen. Wire Spring Co. v. O'Neal Steel, Inc., 556

F.2d 713, 716 (Sth Cir. 1977) ("The automatic Stay of bankruptcy operates to
prevent a creditor from continuing to arbitrate claims against the bankrupt.").
In determining whether the automatic stay applies, the focus is on "the
Character of the proceeding, rather than the identity of the parties."
In re PPI Enters. (U.S.), Inc., 324 F.3d 197, 204 (2d Cir 2003). Here, the arbitration
proceedings against Varghese were proceedings "against the debtor,” andthe

automatic stay applied.”

"China Southern contends that the district court erred in ruling that the filing
of Varghese's Chapter 13 petition tolled the two-year limitations period under
the Montreal Convention. We review a district court's determination that a
limitations period was tolled for abuse of discretion. Hyatt v. N. Cent. Airlines,
Inc., 92 F.3d 1074, 1077 (ith Cir. 1996).

China Southern argues that the Chapter 13 filing could not toll the Montreal
Convention's limitations period because Varghese did not file a claim in
bankruptcy. But, as the district court noted, the Eleventh Circuit has not yet
addressed this issue, and the weight of authority from other circuits suggests
that a debtor need not file a claim in bankruptcy to benefit from the
automatic stay. See, e.g., In re Gandy, 299 F.3d 489,495 (5th Cir. 2002); In re
BDC 56 LLC, 330 B.R. 466, 471 (Bankr. D.N.H. 2005).

Moreover, the district court found that the automatic stay provision in
Varghese's Chapter 13 petition tolled the limitations period under the

Montreal Convention. We agree.
The Supreme Court has held that an automatic stay of a legal proceeding
under the Bankruptcy Code tolls the limitations period applicable to the stayed
proceeding. See, e.g., Begier v. IRS, 496 U.S. 53, 59-60, 110 S.Ct. 2258, 110

L.Ed.2d 46 (1990). The Montreal Convention's limitations period is a

“period of prescription," rather than a "statute of limitations." See Zaunbrecher
v. Transocean Offshore Deepwater Drilling, Inc.,772 F.3d 1278, 1283 (11th Cir.

2014). But the difference between a "period of prescription" and a "statute of

limitations" does not affect the automatic stay's tolling effect. See id. at 1283

n.3. Therefore, we hold that the filing of Varghese's Chapter 13 petition tolled
the Montreal Convention's two-year limitations period, which did not begin tc V

run until the automatic stay was lifted."

Appellants argue that the district court erred in dismissing their claims as
untimely. They assert that the limitations period under the Montreal

Convention was tolled during the pendency of the Bankruptcy Court

proceedings. We agree.

The Bankruptcy Code provides that the filing of a bankruptcy petition
operates as a stay of proceedings against the debtor that were or could
have been commenced before the bankruptcy case was filed. 11 U.S.C. §
362(a). The tolling effect of the automatic stay on a statute of limitations is
generally a matter of federal law. See Kaiser Steel Corp. v. W.S. Ranch Co.,
391 U.S. 593, 598, 88 S.Ct. 1753, 20 L.Ed.2d 835 (1968). We have previously
held that the automatic stay provisions of the Bankruptcy Code may toll the
statute of limitations under the Warsaw 'VConvention, which is the precursor
to the Montreal Convention. See Zicherman v. Korean Air Lines Co., Ltd., 516

F.3d 1237, 1254 (ith Cir. 2008).

We see no reason why the same rule should not apply under the Montreal
Convention. Congress enacted the Montreal Convention to 'modernize and
unify the Warsaw Convention system by establishing new and uniform rules

governing the international carriage of persons, baggage, and cargo.' El Al
israel Airlines, Ltd. v. Tseng, 525 US. 155, 161, 119 S.Ct. 662, 142 L.Ed.2d 576

(1999). In doing so, Congress sought to provide passengers with greater
certainty and predictability in the event of an accident. Id. at 166, 119 S.Ct.
662. Allowing the tolling of the limitations period during the pendency of

bankruptcy proceedings furthers this goal by ensuring that passengers have

a meaningful opportunity to bring their claims for compensation."
